    CITYOF HOUSTON
CERTIFICATE OF OCCUPANCY

Owner       or        Occupant: SOUTHWEST KEY PROGRAMS

This certificate              must    be posted in   a   conspicuous place     on the   premises   and    authorizes      the     Building(s)            or
Structure(s) to               be   occupied   at:




   419                             EMANCIPATION                   AVE
       street   no,            street name                                                                 suitä                lot              block



 OCC REPORT/ SHEbTERIDORMITORYi88 CODE                                                                                                               0715
       occupany        use
                                                                                                                                              occ.   load



 SSBB                                                                   j   002         08-JUN-2018            \   2            R1                   A
       subdivision                                                          stories         date                   type         group            rating



The work listed hereon has been duly inspected and found to comply with all of the City of Houston
Construction Code requirements for the occupancy group and use shown. This certificate covers ONLY
the work described above; therefore other portions of the building may not have been inspected and
may not (and are not required to) comply with all portions of the City of Houston Construction Code

THIS    CERTIFICATEDOES ÑOT CERTIFY COMPLIANCE WITH THE 'AMERICAN WITH DISABILITIES' ACT.

This certificate is issued Ilursuant of Section 101.2 of the Building Code, based on available knowledge
gained from inspection conducted on 24-APR-2018 of readily visible conditions.




 Project Number:                   18040281
 Receipt Number:                   6929578
    Film Number:




 Prepared             by     GUEVARA                                                                For   Mark Savasta,           CFJvl,    CBÐ, MCP
                                                                                                    Building  OfficiÀl för            the Citÿ of Houston




                                                                                                   EXHIBIT 2
